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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISON

LEON WILLIAMS,                                      )
                                                    )
               Plaintiff,                           )
                                                    )
       v.                                           )
                                                    )
PACE SUBURBAN BUS SERVICE, a division               )
of the REGIONAL TRANSPORTATION                      )
AUTHORITY, a municipal corporation.                 )
                                                    )
               Defendant.                           )


                                         COMPLAINT

       NOW COMES Plaintiff, Leon Williams, by and through his attorney, Gregory T.

Mitchell, Law Office of Gregory T. Mitchell, P.C., and complains of Defendant PACE Suburban

Bus Service, a division of the Regional Transportation Authority, an Illinois municipal

corporation, as follows:

                                    NATURE OF ACTION

   1. This is an action denial of procedural due process and for wrongful taking of a

protectable property interest in continued employment as full-time employee of the PACE

SUBURBAN BUS SERVICE, a division of the REGIONAL TRANSPORTATION

AUTHORITY, an Illinois municipal corporation, (hereinafter referred to as “PACE”) in

violation the Fourteenth Amendment of the United States Constitution, and Title 42, United

States Code, Section 1983. The Defendants deprived the plaintiff of his protectable property

interest of continued employment without due process when on December 6, 2013, PACE

terminated plaintiff’s employment without a pre-termination disciplinary hearing and without

providing plaintiff any post-termination administrative review.


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                                          JURISDICTION

   2. Jurisdiction over the violations alleged is conferred as follows: 28 U.S.C. §1331, in that

this is a civil action arising under the Constitution, laws or treaties of the United States, and

claims authorized under 42 U.S.C. § 1983.

                                               VENUE

   3. Venue is proper in the Northern District of Illinois pursuant to 28 U.S.C. Section 1391

(b)(1)(2) and (3) , because the events giving rise to this action occurred within this jurisdictional

district and because Defendant has a corporate business address of 550 West Algonquin Road,

Arlington Heights, Illinois 60005.

                                             PARTIES

   4. The plaintiff is Leon Williams, a U.S. citizen who resides in the county of Cook, in the

State of Illinois. At all times material, plaintiff Leon Williams was employed by Pace Suburban

Bus Service as an Inspection Technician at a PACE location in South Holland, Illinois.

   5. At all relevant times, defendant Pace Suburban Bus Service, a division of the Regional

Transportation Authority, an Illinois municipal corporation organized under the laws of the State

of Illinois (hereinafter sometime referred to as “PACE”).

                                   FACTUAL ALLEGATIONS

   6. Mr. Williams began his full-time employment with PACE in April 2008, and continued

to be employed full-time until he was terminated on December 6, 2013.

   7. Sometime before November 13, 2013, Mr. Williams was directed by his supervisor

attend a meeting on November 13, 2013, to discuss an alleged compliant made against Williams

by another PACE employee.

   8. Williams was told only that a female PACE employee had alleged that Williams had



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made an inappropriate comment or remark that was considered “offensive”.

   9. Williams was not told either: (1) the name of the alleged employee; (2) the date on which

the alleged “offensive” comment or statement was made; nor (3) the time or location when the

alleged “offensive” comment or statement was made.

   10. On November 13, 2013, Williams was not informed or advised of any specific

written PACE employee rule, policy or code of conduct provision that had been violated by the

alleged “offensive” comment or statement described in by the complaining employee.

   11. At the meeting conducted by defendant PACE on November 13, 2013, Mr. Williams was

again only told that a female PACE employee had alleged that he had made an inappropriate

comment or remark that she considered “offensive” and which possibly constituted sexual

harassment.

   12. Because Mr. Williams was not informed of either: (1) the name of the alleged female

employee; (2) the date on which the alleged “offensive” comment or statement had been made;

nor (3) the time or location when the alleged “offensive” comment or statement had allegedly

been made, Mr. Williams explained to his superiors that he could not respond or present a

statement in his defense. Mr. Williams, however, categorically denied making any “offensive”

comments or statements to any female employees.

   13. Following the November 13, 2013, meeting, defendant PACE suspended Mr. Williams

without pay, pending further investigation.

   14. After the November 13, 2013 meeting, Mr. Williams was notified in writing that the

alleged “offensive” comments and/or statement was considered to be potentially “unacceptable

conduct in the workplace, including possible violations of the `Rules for Personal Conduct’

and/or Employee Handbook.



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   15. The “Rules for Personal Conduct” promulgated by defendant PACE and distributed to

Mr. Williams when he was first hired described four (4) different possible violations described

by the allegation made against Mr. Williams – “conduct unbecoming an employee”, “abusive

attitude, language, or conduct to fellow employees or the public”, “discourteous treatment of any

person”, and “disrespect to supervisors, co-workers, or the public”.

   16. Following the November 13, 2013, meeting, defendant PACE also advised Mr. Williams

that a follow-up meeting would occur on November 20, 2013 to inform Mr. Williams of

defendant’s decision regarding the findings of its investigation.

   17. The scheduled meeting for November 13, 2013, to inform Mr. Williams of the findings of

the investigation was subsequently canceled by defendant PACE.

   18. On or about November 30, 2013, Mr. Williams was directed to attend the previously

canceled follow-up meeting at PACE on December 4, 2013. Mr. Williams was not provided any

additional information prior to this meeting.

   19. On December 4, 2013, Mr. Williams attended the required “follow-up” meeting. During

this meeting, Mr. Williams was not provided any additional information and was not terminated.

   20. On December 6, 2013, Mr. Williams was directed to report to the PACE facility for a

third meeting. At this December 6, 2013, meeting, Mr. Williams was informed by defendant that

they had decided that Mr. Williams could not return to work as an full-time employee of PACE.

Mr. Williams was further informed that following the investigation, defendant had decided to

offer Mr. Williams a severance package in exchange for his agreement to a voluntarily

resignation from his position and an agreement to waive any potential civil claim against PACE

for his suspension without pay that began on November 13, 2013.

   21. Mr. Williams was thereafter presented with a written “Agreement and Release” that had



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been prepared and told that he had to agree to the resign immediately and accept the terms of the

severance agreement. Exhibit A.

   22. When Mr. Williams refused to voluntarily resign and accept the terms of the “Agreement

and Release” Mr. Williams was told he was immediately terminated.

   23. Mr. Williams was then presented with a “Termination Letter” which stated that: “A

review of the evidence indicates that your conduct constituted sexual harassment by your

unwelcome and unacceptable verbal comments and physical contact involving staff at the South

Holland facility”. Exhibit B.

   24. The “Termination Letter” presented to Mr. Williams on December 6, 2013, was the first

time Mr. Williams had been informed of the alleged charges and the specific PACE policies that

he had alleged violated.

COUNT I – VIOLATION OF PROCEDURAL DUE PROCESS UNDER 42 U.S.C. §1983

       25. That WILLIAMS repeats, re-alleges and incorporates by reference the factual

allegations of paragraphs 1 through 24 as if fully set forth herein.

       26. That the Fourteenth Amendment, as enforced through the protections established by

Title 42, United States Code, Section 19983, WILLAIMS had a reasonable expectation of

procedural due process in the event PACE would seek to terminate him for suspected violations

of PACE polices as described in the PACE Rules for Personal Conduct (HR-15). WILLAMS

had a protected property interest in his continued full-time employment, in that Williams had

been employed full-time by PACE for five (5) years.

       27. That WILLIAMS had a procedural due process right to be provided a pre-

termination hearing which included, to be notified of the charges and to begin and opportunity to

respond and be heard.



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       28. That on or before December 6, 2013, WILLIAMS had a right to receive notice of the

allegations and alleged violations, and to be given a right to be heard.

       29. That PACE deprived WILLIAMS of his Fourteenth Amendment right to procedural

due process by terminating on December 6, 2013, without providing WILLIAMS notice or an

opportunity to be heard after being notified of the specific PACE policy violations.

       30. That as a result of the aforementioned deprivation of federal rights, WILLIAMS

suffered and will likely continue to suffer harm including, without limitation, loss of income,

loss of reputation, loss of enjoyment of life and emotional distress.

       Wherefore, plaintiff, LEON WILLIAMS, demands judgment against defendant PACE for

compensatory damages, immediate re-instatement to his position at PACE, all financial bonuses

and benefits, plus costs of this action, attorney fees and such other relief as the Court deems just

and equitable.

                                       LEON WILLAMS

                                       By: /s/ Gregory T. Mitchell

                                            Gregory T. Mitchell


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